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                               EXHIBIT B
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
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In re:                                                             Chapter 11

BED BATH & BEYOND INC., et al.,1                                   Case No. 23-13359 (VFP)

                                       Debtors.                    (Jointly Administered)


       ORDER GRANTING DEBTORS’ (I) SECOND OMNIBUS OBJECTION TO
     CERTAIN TAX CLAIMS AND (II) MOTION TO DETERMINE TAX LIABILITY
        AND STAY PROCEEDINGS WITH RESPECT TO CERTAIN CLAIMS

          The relief set forth on the following pages, numbered two (2) through four (45), is

ORDERED.




1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby.


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                              OBJECTION TO CERTAIN TAX CLAIMS AND (II) MOTION TO
                              DETERMINE TAX LIABILITY AND STAY PROCEEDINGS WITH
                              RESPECT TO CERTAIN CLAIMS

          Upon the Debtors’ (I) Second Omnibus Objection to Certain Tax Claims and (II) Motion

to Determine Tax Liability and Stay Proceedings [Docket No. 2180] (the “Omnibus Objection”)1

on behalf of the DebtorsPlan Administrator, as successor to Bed Bath & Beyond Inc. and its

affiliated debtors (the “Debtors”), for entry of an order (this “Order”), pursuant to sections

105(a), 502, and 505 of the Bankruptcy Code, Bankruptcy Rule 3007, and Local Rule 3007-2 (i)

determining market values to establish the bases upon which to compute taxes for tax year 2023

as to the Claims and to stay state proceedings and (ii) modifying or reducing the claims listed on

Schedule A1 attached to the Proposedthis Order based on the determination of assessed value of

the Debtors’ property; and the Court having jurisdiction to consider the Omnibus Objection and

the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334; and consideration of

the Omnibus Objection and the relief requested therein being a core proceeding in accordance

with 28 U.S.C. § 157(b)(2); and it appearing that proper and adequate notice of the Motion has

been given and that no other of further notice is necessary; and venue being proper in this

District pursuant to 28 U.S.C. §§ 1408 and 1409; and after due deliberation and sufficient cause

appearing therefor

IT IS HEREBY ORDERED THAT:

          1.        The Omnibus Objection is GRANTED as set forth herein.

          2.        Pursuant to section 505(a) of the Bankruptcy Code, the Court finally determines

that the Revised Fair Market Values set forth on the Assessment Schedule attached as Exhibit 1

1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Omnibus
    Objection


                                                          2
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to the Lammert Declaration are the appropriate bases upon which the California Authorities are

to compute taxes for the tax year 2023 for the Property. 3. All tax related administrative or state

proceedings (whether administrative hearings, administrative appeals, judicial appeals, or state

court litigation) related to the valuation of the Property and related deadlines shall be stayed

from entry of this Order until the Court orders otherwise. The Order does not preclude parties

from informal settlement effortsare hereby discontinued with prejudice and are finally

determined as set forth herein..

          3.        4. The Claims set forth on Schedule A1 attached hereto shall be reduced or

modified for the tax year 2023 based on the Revised Fair Market Values set forth in the

Assessment Schedule and reflected on Schedule 1 hereto, in full and final satisfaction of the

2023 tax year.

          4.        5. Nothing contained in this Order shall impair the rights of the DebtorsPlan

Administrator to seek, pursuant to section 505 of the Bankruptcy Code, a refund of any taxes

previously paid with respect to the Property.

          6.        All rights of the Debtors or their successors to object to claims of the California

Authorities on any other grounds, and to amend, modify, and/or supplement this Omnibus

Objection are preserved.

          7.        Nothing in the Omnibus Objection or this Order shall be deemed or construed to

(a) constitute an admission as to the validity or priority of any claim against the Debtors, (b) an

implication or admission that any particular claim is of the type specified or defined in the




                                                          3
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Claim, Omnibus Objection, or Order, and/or (c) constitute a waiver of the Debtors’ or their

successors’ rights to dispute the Claims or any other claim on any other grounds.

          5.        8. The objection to each Claim addressed in the Omnibus Objection and as set

forth in Schedule A1 attached hereto, constitutes a separate contested matter as contemplated by

Bankruptcy Rule 9014. This Order shall be deemed a separate order with respect to each Claim

that is the subject of the Omnibus Objection and this Order. Any stay of this Order pending

appeal by any claimants whose claims are subject to this Order shall only apply to the contested

matter that involves such claimant and shall not stay the applicability and/or finality of this

Order with respect to any other contested matters addressed in the Omnibus Objection and this

Order.

          6.        9. The requirement set forth in Local Rule 9013-1(a)(3) that any motion or other

request for relief be accompanied by a memorandum of law is hereby deemed satisfied by the

contents of the Omnibus Objection or otherwise waived.

          7.        10. Notwithstanding any applicability of any of the Bankruptcy Rules, the terms

and conditions of this Order shall be immediately effective and enforceable upon its entry.

          8.        11. The Debtors or their successors are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order.

          9.        Other than as set forth in Schedule 1, nothing contained herein shall be

considered “law of the case” and/or waive or otherwise limit any other claimant’s defenses in

connection with the Motion.




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          10.       12. This Court shall retain jurisdiction over all matters arising from or related to

the implementation and interpretation of this Order.




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                                          CERTAIN CLAIMS

                                                                               SCHEDULE 1

                                                                                                                                2023 Portion
                                                                                                                 2023 Revised                  Revised 2023
                            Claim                                      Claim                     2023 Asserted                    of Total
        County                                   Claimant                        Account No.                     Fair Market                      Claim
                            Status                                      No.                         Value                          Claim
                                                                                                                    Value                        Amount
                                                                                                                                  Amount
Butte                    Secured           Butte County                8808    800-044-188-000    $268,510.00     $23,370.00    $3,392.06        $260.90

Humboldt                 Priority          Humboldt County             17803   800-009-016-000    $214,753.00     $44,176.00    $2,646.64        $493.44
Marin                    Priority          Marin County                 322    B03-009-55        $1,933,946.00    $24,992.00    $27,618.84       $291.26

Monterey                 Secured           Monterey County             17670   800-032-868-000    $291,510.00     $11,665.00    $4,156.96        $128.82
                                           City and County of
*San Francisco           Priority                                      17635   162359001         $2,915,855.00    $42,577.00    $37,894.36       $502.30
                                           San Francisco
Stanislaus               Priority          Stanislaus County           17767   800-017-763-000    $260,940.00     $25,218.00    $3,114.69        $273.65
** Santa Barbara         N/A               N/A                         N/A     07717042-030-9     $630,370.00    $104,233.00      N/A          $1,098.92
** Tulare                N/A               N/A                         N/A     800-233-234-000    $545,640.00     $65,138.00      N/A            $683.43
* San Francisco's gross claim includes property tax, registration and annual business tax fees. The Claim and Allowed Amounts are for the property
tax portion of the claim.
** N/A no claim filed.




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